Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 1 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 2 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 3 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 4 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 5 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 6 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 7 of 8
Case 18-50800-wlh   Doc 33   Filed 11/08/18 Entered 11/08/18 13:15:07   Desc Main
                             Document      Page 8 of 8
